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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

In re:                              )
                                    )     Case No. 09-37480 (KHT)
BYRON PATTERSON MCDANIEL JR. )
AND LAURA PAIGE MCDANIEL            )     Chapter 13
                                    )
      Debtors.                      )
__________________________________ )
                                    )
BYRON PATTERSON MCDANIEL JR. )
AND LAURA PAIGE MCDANIEL,           )
                                    )     Adversary Proceeding No. 17-01274-KHT
      Plaintiffs,                   )
v.                                  )
                                    )
NAVIENT SOLUTIONS, LLC,             )
                                    )
      Defendant.                    )
_____________________________________________________________________________

 ENTRY OF APPEARANCE, REQUEST FOR ALL PLEADINGS AND NOTICES, AND
                     RESERVATION OF RIGHTS
_____________________________________________________________________________

        Pursuant to 11 U.S.C. § 1109(b) and Rule 9010(b) of the Federal Rules of Bankruptcy
Procedure, Carla Martin, of Sherman & Howard L.L.C. gives notice of her entry of appearance
on behalf of Navient Solutions, LLC (“Navient”) and further requests that all notices, pleadings
and other documents filed and/or served in this case be sent to:

         Carla Martin, Esq.
         Sherman & Howard L.L.C.
         633 Seventeenth Street, Suite 3000
         Denver, CO 80202
         E-mail: cmartin@shermanhoward.com

         Neither this Entry of Appearance, Request for All Pleadings and Notices, and
Reservation of Rights, is intended to waive (1) the rights of Navient to have final orders in non-
core matters entered only after de novo review by a district judge; (2) the rights of Navient to
trial by jury in any proceeding so triable herein or in any case, controversy or proceeding related
hereto, (3) Navient’s right to have the reference withdrawn by the District court in any matter
subject to mandatory or discretionary withdrawal, or (4) any other rights, claims, actions,
defenses, setoffs, or recoupments to which Navient is or may be entitled under agreements in law
or equity, all of which rights, claims, actions, defenses, setoffs and recoupments Navient
expressly reserves.



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         Dated this 11th day of October, 2017.

                                                 SHERMAN & HOWARD L.L.C.


                                                 /s/ Carla Martin
                                                 Carla Martin
                                                 633 Seventeenth Street, Suite 3000
                                                 Denver, Colorado 80202
                                                 Tel: (303) 297-2900
                                                 E-Mail: cmartin@shermanhoward.com

                                                 Attorneys for Navient Solutions, LLC




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 11th day of October, 2017 a true and correct
copy of the foregoing ENTRY OF APPEARANCE, REQUEST FOR ALL PLEADINGS
AND NOTICES, AND RESERVATION OF RIGHTS was served by depositing the same in
the U.S. mail, postage prepaid, as follows:

Austin Smith
Smith Law Group
3 Mitchell Place
New York, New York 10017


                                             /s/ Roberta Neal
                                             Roberta Neal




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